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                        EXHIBIT 11
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                                     Visited Network                                         Home Network


                                    UE                 P-CSCF              I-CSCF                HSS                 S-CSCF

                                         1. Register
                                                           2. Register


                                                                              3. Cx-Query/Cx-Select-Pull


                                                                              4. Cx-Query Resp/Cx-Select-Pull Resp



                                                                               5. Register


                                                                                                    6. Cx-put/Cx-Pull


                                                                                                    7. Cx-Put Resp/Cx-Pull Resp




                                                                                                              8. Service Control

                                                                                    9. 200 OK
                                                              10. 200 OK
                                          11. 200 OK




                                                  Figure 5.1: Registration – User not registered

                       1. After the UE has obtained IP connectivity, it can perform the IM registration. To do so,
                          the UE sends the Register information flow to the proxy (Public User Identity, Private
                          User Identity, home network domain name, UE IP address, Instance Identifier, GRUU
                          Support Indication).



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[7f] identifying a particular protocol     The interoperability node identifies a particular protocol specific registration process from a
specific registration process from a       number of protocol specific registration processes.
number of protocol specific registration
processes;                                 As discussed in [7d] above, the protocol specific registration processes depend on the type of
                                           access that the station has.

                                           “3.2.1 VoLTE UE Attachment and IMS Registration
                                           3.2.1.1 General
                                           A VoLTE UE, under LTE coverage, shall automatically perform an LTE Attach followed by an
                                           IMS registration for VoLTE, if the network supports VoLTE (for further details on the
                                           conditions for IMS registration see section 2.2.1 of GSMA IR.92 [54]). This ensures that the
                                           VoLTE UE shall be available for VoLTE services (i.e. incoming calls, outgoing calls and
                                           supplementary services), similar to the voice experience in today's CS network deployments.”

                                           Source: https://www.gsma.com/futurenetworks/wp-content/uploads/2014/10/FCM.01-VoLTE-
                                           Service-Description-and-Implementation-Guidelines-Version-2.0.pdf

                                           “3.2.1.3 Detailed Description VoLTE UE Attach
                                           ….
                                           The MME sends an Attach Accept to the eNodeB with the IMS-APN, IP Address for the UE,
                                           QoS parameters, PCO, IMS Voice over PS supported indication, TAI list, ESM message
                                           container, etc. The eNodeB communicates with the UE to update the RRC configuration and
                                           includes the information received from the core network as part of the create session request.

                                           The UE sends the Attach Complete message to the eNodeB, which forwards to the MME. At
                                           this time, the UE is capable of sending uplink packets. The MME initiates a Modify Bearer
                                           Request to the SGW including the EPS Bearer Identity, eNodeB address, and eNodeB TEID.
                                           The SGW acknowledges the request to the MME and is capable of sending downlink packets.

                                           At this stage, the VoLTE UE is attached to the network via a default bearer that is established
                                           for IMS Signalling.”
                                           Source: https://www.gsma.com/futurenetworks/wp-content/uploads/2014/10/FCM.01-VoLTE-
                                           Service-Description-and-Implementation-Guidelines-Version-2.0.pdf


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